
PER CURIAM.
Affirmed. See Fla. R. App. P. 9.125(f); Adaway v. State, 902 So.2d 746 (Fla.2005); State v. Boatwright, 559 So.2d 210 (Fla.1990); Rusaw v. State, 451 So.2d 469 (Fla.1984); Burrows v. State, 890 So.2d 286 (Fla. 2d DCA 2004); Wilkinson v. State, 889 So.2d 110 (Fla. 2d DCA 2004); Dailey v. State, 501 So.2d 15 (Fla. 2d DCA 1986).
NORTHCUTT, WALLACE, and CRENSHAW, JJ., Concur.
